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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF LOUISIANA

    In re:                                            )
                                                      )   Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH OF                      )
    THE ARCHDIOCESE OF NEW ORLEANS                    )   Section “A”
                                                      )
                     Debtor.                          )   Chapter 11



                                        NOTICE OF HEARING

             PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (the

   “Committee”) filed the Second Interim Application of Locke Lord LLP as Co-Counsel to the

   Official Committee of Unsecured Creditors for Allowance of Compensation and Reimbursement

   of Expenses for the Period from October 1, 2020 through January 31, 2021 [Docket # 840]

   (“Application”) on April 29, 2021.

             PLEASE TAKE NOTICE that a telephonic hearing on the Motion will be held before the

   Honorable Judge Meredith S. Grabill of the United States Bankruptcy Court for the Eastern District

   of Louisiana, Section A, on May 20, 2021 at 1:30 P.M. The dial-in information for Section A is

   1-888-684-8852; Access Code 9318283.

             PLEASE TAKE FURTHER NOTICE that if you object to the relief requested in the

   Motion, you must file a written objection no later than seven (7) days before the hearing date.

             You must serve a copy of your response on the person who sent you this notice. Otherwise,

   the Court may treat the Application as unopposed and grant the relief requested.




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    Dated: April 29, 2021                               Respectfully submitted,

                                                        By: /s/ C. Davin Boldissar
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                                                        -and-

                                                        James I. Stang (CA Bar No. 94435)
                                                        (Pro Hac Vice Submitted)
                                                        Linda F. Cantor (CA Bar No.153762)
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                                                        Co-Counsel to the Official Committee of Unsecured
                                                        Creditors




                                   CERTIFICATE OF SERVICE

           I hereby caused a true and correct copy of the foregoing Notice to be served on April 29,
   2021 upon all parties by electronic case filing for those parties receiving notice via the Court’s
   Electronic Case Filing system, and on all other parties requiring service under the Special Notice
   List as defined and required under the Court’s May 1, 2020 Ex Parte Order Authorizing the Debtor
   to Limit Notice and Establishing Notice Procedures via first-class United States mail, postage
   prepaid.

                                                /s/ C. Davin Boldissar
                                                C. Davin Boldissar




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